Case 1:21-cv-06479-VSB Document 15-25 Filed 10/11/21 Page 1 of 7




                EXHIBIT 25
            Case
             Case21-32261
                  1:21-cv-06479-VSB
                            Document 44-25 RP-2021-362582
                                     Document
                                           Filed
                                               15-25
                                                 in TXSB
                                                      Filed
                                                          on10/11/21
                                                             08/03/21 Page
                                                                       Page22ofof77
                                                      06/29/2021      ER    $34.00




        After recording return to:

        Mark L. Patterson, Esquire
        McDermott Will & Emery LLP
        2501 North Harwood Street, Suite 1900
        Dallas, Texas 75201-1664


                       ASSIGNMENT OF ASSIGNMENT OF LEASES AND RENTS


                FOR VALUE RECEIVED, the receipt and sufficiency of which are hereby
N
CX)     acknowledged, WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE
LO      FOR THE BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO
N
(0      COMMERCIAL MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE
C"')
    I   PASS-THROUGH CERTIFICATES, SERIES 2016-LC25 ("Assignor"), having a mailing
~
        address of c/o LNR Partners, LLC, 1601 Washington Avenue, Suite 700, Miami Beach, Florida
N
0       33 I 39, does hereby grant, bargain, sell, assign, deliver, convey, transfer and set over unto
N       WFCM 2016-LC25 WEST BAY AREA BOULEYARD, LLC, a Delaware limited liability
    I
0....   company ("Assignee"), having a mailing address of c/o LNR Partners, LLC, 1601 Washington
0::::   Avenue, Suite 700, Miami Beach, Florida 33139, all of Assignor's right, title and interest in and
        to the assignment of leases and rents described below, as such instrument may from time to time
        have been amended, assumed, consolidated, modified and/or assigned:

               That certain Assignment of Leases and Rents, dated as of October 21, 2016
        ("Assignment of Leases"), made by KORNBLUTH TEXAS, LLC, a Texas limited liability
        company ("Borrower"), in favor of RIAL TO MORTGAGE FINANCE, LLC, a Delaware
        limited liability company ("Original Lender"), recorded on October 25, 2016, as Instrument
        Number RP-2016-481295, in the Official Public Records of Harris County, Texas (the
        "Records"). The Assignment of Leases was (i) assigned by Original Lender to RMF SUB 1,
        LLC, a Delaware limited liability company ("First Assignee"), pursuant to that certain
        Assignment of Assignment of Leases and Rents, executed on January 3, 2017, and recorded on
        March 21, 2017, as Instrument Number RP-2017-117835 in the Records, (ii) assigned by First
        Assignee to Original Lender pursuant to that certain Assignment of Assignment of Leases and
        Rents, executed on January 3, 2017, and recorded on March 21, 2017, as Instrument Number RP-
        2017-11783 8 in the Records, and (iii) assigned by Original Lender to Assignor pursuant to that
            Case
             Case21-32261
                  1:21-cv-06479-VSB
                            Document 44-25
                                     Document
                                           Filed
                                               15-25
                                                 in TXSB
                                                      Filed
                                                          on10/11/21
                                                             08/03/21 Page
                                                                       Page33ofof77




        certain Assignment of Assignment of Leases and Rents, executed on January 3, 2017, and
        recorded on March 21, 2017, as Instrument Number RP-2017-117841 in the Records.

                TOGETHER WITH all rights accrued or to accrue under said Assignment of Leases, any
        and all promissory note(s) referred to or described therein, the debt and claims secured thereby,
        and all sums of money due and to become due thereon, with interest as provided for therein.

               TO HAVE AND TO HOLD the same unto the Assignee and to the successors and
        assigns of the Assignee forever.

             THIS ASSIGN.MENT IS MADE WITHOUT RECOURSE AND WITHOUT
        REPRESENTATION OR WARRANTY, EXPRESS, IMPLIED OR BY OPERATION OF
        LAW, OF ANY KIND AND NATURE WHATSOEVER.

              The Assignment of Leases assigned hereby encumbers the real property legally described
        on Exhibit A attached hereto and incorporated herein by this reference.

               fN WITNESS WHEREOF, this Assignment has been duly executed on behalf of
        Assignor on June_, 2021.
N
CX)
LO           [END OF TEXT-SIGNATURE AND ACKNOWLEDGMENT PAGES FOLLOW]
N
(0
C"')
    I
~

N
0
N
    I
0....
0::::
            Case
             Case21-32261
                  1:21-cv-06479-VSB
                            Document 44-25
                                     Document
                                           Filed
                                               15-25
                                                 in TXSB
                                                      Filed
                                                          on10/11/21
                                                             08/03/21 Page
                                                                       Page44ofof77




                                                   ASSIGNOR:

                                                   WILMINGTON TRUST, NATIONAL ASSOCIATION,
                                                   AS TRUSTEE FOR THE BENEFIT OF THE
                                                   REGISTERED HOLDERS OF WELLS FARGO
                                                   COMMERCIAL MORTGAGE TRUST 2016-LC25,
                                                   COMMERCIAL     MORTGAGE       PASS-THROUGH
                                                   CERTIFICATES, SERIES 2016-LC25
        [NO CORPORATE SEAL]

                                                    By:       LNR Partners, LLC, a Florida limited liability
                                                              company, its Attorney-in-Fact under that certain
                                                              Limited Power of Attorney dated January 27, 2021


                                                              By: _ _ _  ;/l+------------
                                                              Name: _ _J_ob_W_a_rs_h_aw_ _ _ _ _ _ _ __
                                                                         President
                                                              Title: - - - ------------
N
CX)
LO      Signed, Sealed and Delivered
N
(0
C"')    in the presence of:
~

N
    I
               ,~
                ,,,..d ':,.,
                            r-)cS)-~
                                 \_,../
0
N
    I   Printed Name:             Angela Ospina
0....
0::::   Witness #1



        Printed Name: P,:::::,\-h'"i' c; OI.   R-ev:i-e °:)
        Witness #2
                 Case
                  Case21-32261
                       1:21-cv-06479-VSB
                                 Document 44-25
                                          Document
                                                Filed
                                                    15-25
                                                      in TXSB
                                                           Filed
                                                               on10/11/21
                                                                  08/03/21 Page
                                                                            Page55ofof77




        STATE OF FLORIDA                   )
                                           ) SS:
        COUNTY OF MIAMI-DADE               )

                                                                                        r:f
              The foregoing instrument was acknowledged before me, by means of physical presence
        or   •
            online notarization, this _ _ day of June, 2021, by      President                  ,a
               Job WanhaW                    of LNR Partners, LLC, a Florida limited liability
        company, on behalf of the said limited liability company, as Attorney-in-Fact on behalf of
        WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE
        BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL
        MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-THROUGH
        CERTIFICATES, SERIES 2016-LC25. Said individual is personally known to me.

                                                             p

                                                         '
                                                   J__       ~v)--   It 1' ,   ?Lt t-J? .
                                               Ncftary Public, State of Florida         is
                                               Print Name:         ff fiO t•, fl Iv, ,--e \
                                               My Commission Expires:         O i / 17 / zCt¼
                                                                                    I        I
N
CX)
LO
N       [AFFIX NOTARY STAMP ABOVE]
(0
C"')
    I
~

N
0
N
    I
0....
0::::
         Case
          Case21-32261
               1:21-cv-06479-VSB
                         Document 44-25
                                  Document
                                        Filed
                                            15-25
                                              in TXSB
                                                   Filed
                                                       on10/11/21
                                                          08/03/21 Page
                                                                    Page66ofof77




                                                 EXHIBIT A

                                          LEGAL DESCRIPTION



        Fee Parcel

        Tract I:

        Unrestricted Rese1·ve "C", Block I, of One Bay Area Plaza, Harris County, Texas recorded under
        Film Code Number 612277 of the Map Records of Harris County, Texas: and

        Easement:

        TOGETHER WITH easement described in Easement Agreement, dated December 2 l, 2006.
        executed by and between Bay Area 4.5. Ltd., and Webster Hotel, LLC.. as set forth in
        instrument(s) recorded at Harris County Clerk's Fi le No. 20060296799 corrected by
        20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
        survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 161190.

        TOGETHER WITH easement described in Easement Agreement, dated dated December 6. 2007,
        executed by and between Bay Area 4.5, Ltd .. and Webster Hotel, LLC., as set forth in instrument
        recorded al Harris County Clerk's Fi le No. 20070727577 of the Real Property Records of Harris
N       County, Texas and rntified by Narendra Maran, as set fo11h in Ratification of Plat and Easement
CX)
LO      Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
N       County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
(0
C"')    September 30, 2016: Job No. l 61190.
    I
~

N
0
N
    I
0....
0::::
        Case
         Case21-32261
              1:21-cv-06479-VSB
                        Document 44-25
                                 Document
                                       Filed
                                           15-25
                                             in TXSB
                                                  Filed
                                                      on10/11/21
                                                         08/03/21 Page
                                                                   Page77ofof77




                  RP-2021-362582
                  # Pages 6
                  06/29/2021 08:32 AM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  TENESHIA HUDSPETH
                  COUNTY CLERK
                  Fees   $34.00




N
CX)
LO
N
(0
C"')
    I
~

N
0
N
    I
0....             RECORDERS MEMORANDUM
0::::             This instrument was received and recorded electronically
                  and any blackouts, additions or changes were present
                  at the time the instrument was filed and recorded.




                  Any provision herein which restricts the sale, rental, or
                  use of the described real property because of color or
                  race is invalid and unenforceable under federal law.
                  THE STATE OF TEXAS
                  COUNTY OF HARRIS
                  I hereby certify that this instrument was FILED in
                  File Number Sequence on the date and at the time stamped
                  hereon by me; and was duly RECORDED in the Official
                  Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
